 Case: 6:12-cr-00059-KKC-HAI       Doc #: 784 Filed: 10/16/19       Page: 1 of 1 - Page
                                      ID#: 3437



                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF KENTUCKY
                             SOUTHERN DIVISION
                                 AT LONDON


UNITED STATES OF AMERICA,                CRIMINAL ACTION NO. 6:12-59-KKC-HAI-3

     Plaintiff,


V.                                                           ORDER


RONNIE BOGGS,

     Defendant.



                                       *** *** ***


      This matter is before the Court on a recommended disposition in which the magistrate

judge makes certain recommendations regarding Defendant’s admitted violations of the

terms of his supervised release. (DE 782.) No party has filed objections to the

recommendation. Defendant has waived his right to appear before the district judge, and he

has waived his right to make a statement and present mitigating information. (DE 783.)

      Accordingly, the Court hereby ORDERS that the recommended disposition (DE 782)

is ADOPTED as the Court’s opinion. The Court will enter a judgment consistent with the

recommendation.

      Dated October 16, 2019
